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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF WISCONSIN


QUENTON THOMPSON,

            Plaintiff,

      v.                                     Case No. 23C0381

ALANA ACKER, et al.,

            Defendants.


                           NOTICE OF APPEARANCE


      PLEASE TAKE NOTICE that, subject to and without waiving any objections

to jurisdiction or to the Court’s competency to proceed, Defendants, Alana Acker,

Bonnie Alt, Mark Ledesma, Laura Sukowaty, Denise Valerius, and Hannah Utter,

appear in this action by their attorneys, Wisconsin Attorney General Joshua L. Kaul

and Assistant Attorney General Katherine C. Polich. Defendants request service of

all discovery and correspondence be made upon Assistant Attorney General Polich as

counsel of record at Wisconsin Department of Justice, Post Office Box 7857, Madison,

Wisconsin 53707-7857.     All other papers should be served through the Court’s

CM/ECF system.



Dated December 12, 2023.

                                      Respectfully submitted,

                                      JOSHUA L. KAUL
                                      Attorney General of Wisconsin
      Case: 3:23-cv-00381-jdp Document #: 16 Filed: 12/12/23 Page 2 of 2




                                   Electronically signed by:

                                   s/ Katherine C. Polich
                                   KATHERINE C. POLICH
                                   Assistant Attorney General
                                   State Bar #1065796

                                   Attorneys for Acker, Alt, Ledesma,
                                   Sukowaty, Utter, and Valerius

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